Case 1:10-cr-00317-REB Document 735-21 Filed 01/17/14 USDC Colorado Page 1 of 3

NOTICE OF AND RESCISSION OF NOTICE TO THE ARTICLE III COURT TO
s REINSTALL NOTICES AND COURT DOCUMENTS THAT WERE STRICKEN BY THE
JUDGE, TO TAKE EXEGENT NOTICE OF ONE OF WE THE PEOPLE OF MY LEGAL
NOTICE AND DEMAND FILED WITH THE ARIZONA SECRETARY OF STATE
JUNE 8, 2009, AND THE AFFIANT, TO DATE, HAS NOT RECEIVED GRAND
JURY TRANSCRIPTS IN PRINTED FORM FOR CAUSE
NOTICE DATE: Day Fourteen Month One Year 2014 C.E.

Clerk of the Court

United States District Court
901 19th Street, Room A-105
Denver, Golorado 80294-3589

In reply to: "Case 1:10-cr-00317-REB Document 236 Filed 05/19/11 USDC Colorado Page 1 of
2 April 12, 2011 Case No. 10-cr-00317 Case No. 10-cv-01073 NOTICE TO THE ARTICLE 111 COURT
TO REINSTALL NOTICES AND COURT DOCUMENTS THAT WERE STRICKEN BY THE JUDGE, TO TAKE EXEGENT
NOTICE OF ONE OF WE THE PEOPLE OF MY LEGAL NOTICE AND DEMAND FILED WITH THE ARIZONA
SECRETARY OF STATE JUNE 8, 2009, AND THE AFFIANT, TO DATE, HAS NOT RECEIVED GRAND JURY
TRANSCRIPTS IN PRINTED FORM, April 12, 2011 Richard Kellogg Armstrong, Page 2 of 2"

PLEASE TAKE NOTICE that I, Richard Kellogg Armstrong, sentient moral being rescind my
signature Richard Kellogg Armstrong and the original "supra" including every copy bearing
my signature and date, for cause. I made a mistake creating, signing and presenting the
NOTICE TO THE ARTICLE 111 COURT TO REINSTALL NOTICES AND COURT DOCUMENTS THAT WERE STRICKEN
BY THE JUDGE, TO TAKE EXEGENT NOTICE OF ONE OF WE THE PEOPLE OF MY LEGAL NOTICE AND DEMAND
FILED WITH THE ARIZONA SECRETARY OF STATE JUNE 8, 2009, AND THE AFFIANT, TO DATE, HAS NOT
RECEIVED GRAND JURY TRANSCRIPTS IN PRINTED FORM. I repent of my sin.

I willingly, knowingly, voluntarily, intentionally and intelligently perform this act
and deed.

linyy son, if you become surety for your friend, if you have shaken hands in a pledge for a stranger", ?"You
are snared by the words of your mouth; you are taken by the words of your mouth." >"So do this, my son, and
geliver yourself; for you have come into the hand of your frjend; go humble yourself; plead with your friend."
"Give no sleep to your eyes, nor slumber to your eyelids." ~"Deliver yourself like a gazelle from the hand of
the hunter, and like a bird from the hand of the fowler."

I RESERVE ALL OF MY RIGHTS WITH EXPLICIT RESERVATION AND WITHOUT PREJUDICE.

E D Sincerely 5
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UNITED STATES DISTRICT COURT Vbeid! hells OK enue
DENVER, COLORADO Richard Kellogg Armstrong
4 c/o 20413-298
JAN 17 201 Federal Correctional
LWELL Institution - Lompoc
REY P. co 3600 Guard Road
JEFF CLERK Lompoc, California
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Page 1 of 2
Case 1:10-cr-00317-REB Document 735-21 Filed 01/17/14 USDC Colorado Page 2 of 3

Case 1:10-cr-00317-REB Document 236 Filed 05/19/11 USDC Colorado Page 1 of 2

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April 7% 2011

 
   
   

DISTRICT COURT OM THE UNITED STATES

UNITED STATES OF
v.
RICHARD KELLOGG A

   
   
  
 

 

NOTICE TO THE ARTIC COURT TO REINSTALL NOTICES AND COURT DOCUMENTS THAT WERE STRICKEN ®Y THE JUDGE, TO TAKE
EXEGENT NOTICE O} F WE THE PEOPLE OF MY LEGAL NO@BICE AND DEMAND FILED WITH THE ARIZONA *®
JUNE 8, 2009, AND AFFIANT, TO DATE, HAS NOT RECEIVER GRAND JURY TRANSCRIPTS IN PRINTED

 

NOTICE NCIPAL IS NOTICE TO AGENT AND N E TO AGENT IS NOTICE TO PRINC

‘ REQUEST THAT THE COURT REGOGNIZE '
Haines v. K U.S. 519, 30 Led 652, 92 SCt 59. den 405 U.S. 948, 30, Led 2d 819, 92 SCtg63
\ \

COMES NOW, Richa’ logg Armstrong, of the Armstrong fa: i Juris litigant, hereinafter an the “Accused”, a
native-born state citi2@g of the Republic of Arizona, a non raul Anema United States citizen, anding that all
previous court presentm@ts be entered back into the court ensure that my Due Process gf lag#%g not violated. The
Accused has stated his standing in law and has set out in specticdetail the information required to re tat the Due Process of

  
 

   
 
 
   
 
  
  

law of the Accused i iolated and to prepare a proper é for trial. q

The Accused, to dat jot received the Grand Jury transcripts from two Grand Jury hearings whi é in printed form due
to the Accused’ eagn y Umited computer access and no co puter printing facility at the Federal DétehtiorNCenter. Furnishing of
these transcripts was approved by the court but my deman ceivethem in printed form was deni y Judge Blackburn. This is

iled with the Arizona Secretary of sag as 18 other state,

a violation of Due Pies: .
Tam enclosing ac y Legal Notice and Demand that was
federal and interna agencies June 8, 2009, (See Exhibit A \

is my remedy in law. &

This document is n ded to threaten, intimidate or harasSy
| YL had Cr
1 : Richard Kellogg Armstrong
\ Sovereign

Executor of the Estate
cc:
Tenth Circuit Court Fee
Administrative Office oftle U.S. Courts

ae

April 12, 2011

       
Case 1:10-cr-00317-REB Document 735-21 Filed 01/17/14 USDC Colorado Page 3 of 3

 

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I UNITED STATES DISTRICT COURT

“yf DENVER, COLORADO

MAY 19 2011
GREGORY C. LANGHAM

CLERK
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Pee dete et omy men mes

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